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                       IN THE UNITED STATES DISTRICT COURT FOR
                           THE SOUTHERN DISTRICT OF TEXAS

UNITED STATES                                          )
                                                       )
       v.                                              )            18 CR 855-1
                                                       )
JORGE ZAMORA-QUEZADA                                   )

            DEFENDANT’S RESPONSE TO GOVERNMENT’S TRIAL BRIEF

       Defendant JORGE ZAMORA-QUEZADA hereby responds to the government’s trial brief

(Docket #557) regarding unspecified statements by non-testifying former employees of defendant

that the government seeks to elicit from other witnesses.

                                                 I.

       At 10:28 p.m. on Christmas Eve, December 24, 2019, after three weeks of trial, the

Government notified Defendants Jorge Zamora-Quezada and Meisy Zamora of its intent to elicit

testimony from unknown witnesses relating to unknown statements made by unknown individuals

allegedly employed by Jorge Zamora-Quezada and Meisy Zamora in the form of a trial brief

relating to Fed. R. Evid. 801(d)(2)(D). The Government has not disclosed who will testify to these

matters; it has not disclosed who made the alleged statements; it has not disclosed the substance

of these statements.


                                                 II.


       Under Rule 801(d)(2)(D), employees’ statements that are recounted by testifying witnesses

may be admissible when the employees’ statements were made within the scope of their

employment. However, employees’ statements are not admissible under Rule 801(d)(2)(D) when

the statements concerned matters outside the scope of the employees’ employment. See Ramirez

v. Gonzales, 225 Fed. Appx. 203, 210 (5th Cir. 2007) (holding that a secretary’s account of another


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employee’s complaint about a plaintiff was not admissible under Rule 801(d)(2)(D) because the

secretary was not involved in the decision to terminate the plaintiff). See also Vazquez v. Lopez-

Rosario, 134 F.3d 28, 34 (1st Cir. 1998) (holding that conversations described as “hallway gossip”

were properly excluded as hearsay because “unattributed statements repeated by party-opponents

cannot be admissible”); J. Weinstein, 4 Evidence 801-164 (1981) (“Gossip does not become

reliable merely because it is heard in an office rather than a home.”).

       Additionally, former employees or agents’ statements are not admissible under Rule

801(d)(2)(D) when the statements were made after termination of the employment/agency

relationship. See Bouygues Telecom, S.A. v. Tekelec, 473 F. Supp. 2d 692, 695 (E.D.N.C. 2007)

(former employee’s statements were not considered non-hearsay statements of party opponent

under Fed. R. Evid. Rule 801(d) due to termination of employment/agency and authority); see also

Burns v. Republic Sav. Bank, 25 F. Supp. 2d 809, 820 (N.D. Ohio 1998) (former member of the

board’s statements were not admissible as the admission of a party opponent under Fed. R. Evid.

801(d)(2) because the speaker made them while she was not a member of the board).

       Moreover, even if a non-testifying employee’s statements may be admissible under Rule

801(d)(2)(D), the statements are still subject to Rules 401 and 403 and may be too vague or

unreliable to be admissible. For example, the government appears to intend to ask a witness who

stopped working for defendant in 2005 about something the witness heard from a biller shortly

before he stopped working for defendant. When interviewed in 2005, the witness did not

remember the name of this biller and apparently provided no details about (a) the circumstances

surrounding the conversation that the witness had with the biller or (b) the circumstances

surrounding the alleged conversation in which the biller allegedly received instructions from

defendant Zamora and co-defendant Meisy Zamora. When interviewed in 2018, this witness



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apparently referred to multiple billers receiving such instructions, apparently without identifying

any additional billers. Such hearsay lacks sufficient foundation or reliability to be admissible

under Rule 403.

       Finally, if the government does intend to elicit statements of non-testifying employees via

other witnesses, it should be ordered to produce Giglio information regarding such non-testifying

employees. See United States v. Jackson, 345 F.3d 59, 71 (2d Cir. 2003) (“It is thus clear that

Brady and its progeny may require disclosure of exculpatory and/or impeachment materials

whether those materials concern a testifying witness or a hearsay declarant”); United States v.

Rodriguez, 482 Fed. Appx. 231, 236 (9th Cir. 2012) (“There is persuasive authority for the

proposition that Brady and related obligations extend to non-testifying witnesses”); United States

v. Alcazar-Barajas, No. 5:13-cr-00726-EJD-1, 2017 U.S. Dist. LEXIS 19523 (N.D. Cal. Feb. 10,

2017) (noting that other courts “have held that Brady/Giglio applies to testifying and non-testifying

witnesses”). The government should not be allowed to use Rule 801(d)(2)(D) to get around its

Giglio obligations.

                                      Respectfully submitted,

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                                 CERTIFICATE OF SERVICE
       On the 25th day of December 2019, I electronically submitted the foregoing document with
the clerk of the court of the U.S. District Court, Southern District of Texas, using the electronic
case filing system of the court. I hereby certify that I have served all counsel and/or pro se parties
of record electronically or by another manner authorized by the Federal Rule of Civil Procedure
5(b)(2).



                                                      /s/ Benigno (Trey) Martinez
                                                      Benigno (Trey) Martinez




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